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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                                       2:25-cv-01852-BHH
                                                      Civil Action No. ______________________
 CHARTER SCHOOLS USA AT
 BERKELEY, LLC,

                   Plaintiff,
                                                                     COMPLAINT
   vs.
                                                            (JURY TRIAL DEMANDED)
 BERKELEY CHARTER EDUCATION
 ASSOCIATION, INC.; and THE
 CHARTER INSTITUTE AT ERSKINE,
 INC.,

                   Defendants.


         Plaintiff, Charter Schools USA at Berkeley, LLC (“CSUSA”), complaining of Defendants,

Berkeley Charter Education Association, Inc. (“BCEA”), and The Charter Institute at Erskine, Inc.

(“CIE”), and alleges as follows:

         1.     This is an action by CSUSA, an education management organization (“EMO”) that

has developed and manages approximately 150 high-performing charters schools across the

country, against BCEA for breach of the management agreements for two of the schools BCEA

operates.

         2.     As described more fully below, CIE has induced BCEA’s breaches of the

management agreement as part of its ongoing effort to unlawfully compete with CSUSA and to

interfere with CSUSA’s contractual relations. Although CIE purports to serve as a charter school

“Sponsor” that is authorized to issue charters, CIE is, in fact, a market participant that seeks to sell

management services to the charter schools it is supposed to oversee. CIE has now misused its

position to target and seek to eliminate numerous management companies as competitors for the


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services it hopes to sell schools by disseminating misinformation and threatening to close schools

or withhold funds if schools do not succumb to its unlawful demands. These actions have now

resulted in numerous lawsuits against CIE.

       3.      Significantly, CIE lacks legal authority to act as a charter school Sponsor. Under

the South Carolina Charter Schools Act, S.C. Code Ann. § 59-40-10, et seq. (the “Act”) only local

school districts, the South Carolina Public Charter School District, and public or private

“institutions of higher learning” can issue charters and serve as a charter school “Sponsor.” CIE,

however, is not an institution of higher learning. Although it shares the name “Erskine,” CIE is a

separate entity with a separate corporate existence from Erskine College (“Erskine”). For that

reason, it cannot validly serve as a Sponsor under the Act.

       4.      CSUSA has accordingly filed this action to not only recover the damages it has

suffered as a result of BCEA and CIE’s actions, but also to obtain a declaratory judgment

confirming that CIE is not, and cannot be, a Sponsor under the Act.

                              PARTIES, JURISDICTION, AND VENUE

       5.      Plaintiff CSUSA is a limited liability company formed under the laws of the state

of Florida. CSUSA is headquartered in Fort Lauderdale, Florida, and registered to do business in

the State of South Carolina. CSUSA’s only members are citizens and residents of the State of

Florida.

       6.      Defendant BCEA is a private non-profit corporation, incorporated under the laws

of South Carolina, with its principal place of business in Charleston, South Carolina.

       7.      Defendant CIE is a South Carolina non-profit corporation, with its principal place

of business in Columbia, South Carolina.

       8.      This Court has jurisdiction pursuant to 28 U.S.C § 1332 because there is complete

diversity of citizenship between the Plaintiff and the Defendants, and the amount in controversy
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exceeds $75,000. Diversity of citizenship exists because Plaintiff is a citizen of Florida, while

Defendants are citizens and residents of South Carolina.

       9.      This Court has personal jurisdiction over the Defendants who are citizens and

residents of South Carolina and thus subject to general jurisdiction here.

       10.     Pursuant to 28 U.S.C. § 1391, venue properly lies in this Judicial District because

Defendants reside in this District.

                                      FACTUAL ALLEGATIONS

       11.     BCEA currently operates three charter schools pursuant to charters purportedly

issued by CIE—(i) Mevers School of Excellence, located in Goose Creek (“MSE”); (ii) Berkeley

Preparatory Academy, located in Summerville (“BPA”); and (iii) Willie Jeffries School of

Excellence, located in Orangeburg (“WJSE”).

       12.     BCEA was founded in 2016 by a group of community members led by Samuel

Rivers, Jr., a former member of the South Carolina House of Representatives, and Minnie Newman

Blackwell Mevers, the former Mayor of Hanahan and a life-long educator, to provide expanded

educational opportunities to children in and around Berkeley County.

       13.     Rivers and Minnie Mevers helped to organize BCEA’s initial board of directors.

After BCEA partnered with CSUSA, Minnie and her husband, Sonny Mevers, provided an initial

donation of $3 million dollars to help establish MSE. This donation was restricted to MSE and was

only to be used for MSE’s benefit.

       14.     Before it applied for charters to open MSE and BPA, BCEA engaged CSUSA assist

it in preparing the applications for the schools and to provide management and operational services

for the schools once the charters were granted.

       15.      CSUSA is an education management organization that contracts with non-profits

to develop, manage, staff, and operate public charter schools. BCEA selected CSUSA because of
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its experience, reputation, and proven-track record developing and operating high-performing

charter schools.

       16.     BCEA was initially granted a charter to open MSE in 2016 by the South Carolina

Public Charter School District. BCEA first opened MSE to students in 2017.

       17.     BCEA subsequently requested and received approval to transfer the charter for

MSE to CIE, effective July 1, 2018.

       18.     In or around the same time it sought approval to transfer MSE’s charter, BCEA,

with the assistance of CSUSA, submitted an application to CIE for the school that became BPA.

BPA first opened to students in August 2021.

                    BCEA Enters Management Agreements with CSUSA

       19.     BCEA and CSUSA’s relationship is governed by written Management Agreements

for both MSE and BPA.

       20.     A true and correct copy of the Management Agreement between BCEA and CSUSA

for MSE, dated August 8, 2016 (the “MSE Management Agreement”) is attached hereto as

Exhibit A.

       21.     A true and correct copy of the Management Agreement between BCEA and CSUSA

for BPA, dated December 31, 2020 (the “BPA Management Agreement”) is attached hereto as

Exhibit B.

       22.     The MSE Management Agreement and the BPA Management Agreement have the

same material terms, and accordingly are referred to herein as the “Management Agreements.”

       23.     The Management Agreements provide for an initial term that corresponds to the

term of each respective school’s Charter Contract. After that initial term, the Management

Agreement provides that the term will be extended by additional term(s) corresponding to the term

of any renewed or replacement Charter Contract. (See Management Agreements, § II.)
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       24.      Under the Management Agreements, BCEA agreed that, among other things,

CSUSA would:

             a. Provide “all labor and supervision necessary for the provision of educational
                services to students, and the management, operation, and maintenance of the
                Charter School” in accordance with the educational goals, curriculum, and methods
                established by BCEA’s board of directors and the Charter Contract between the
                BCEA and the School’s Sponsor;

             b. “[I]mplement the Educational Program” of the school;

             c. “Perform day-to-day management of the Charter School . . .”;

             d. “Implement and administrate the Educational Program, including the selection of
                instructional materials, personnel, equipment, technology and supplies . . . .”;

             e. “Perform repeated evaluation, assessment and continuous improvement of the
                educational curriculum and program and report the findings to [BCEA] . . . .”;

             f. “Manage personnel functions, including professional development of the Charter
                School Administrator and instructional personnel . . . .”;

             g. “Manage[] the business administration of the Charter School.”; and

             h. Marketing the Charter School to prospective students and families.

(See Management Agreements, §§ I.B., III.B., III.C.)

       25.      In addition, the Management Agreements provide that “CSUSA shall select and

hire qualified personnel to perform services at the Charter School” and that “[p]ersonnel shall be

employees of CSUSA, unless otherwise agreed by CSUSA and [BCEA].” (See Management

Agreements, § VI.A.).

       26.      The Management Agreements also include specific provisions addressing the

School Administrator (or principal) for each school in Section VI.B. That section specifies that

“CSUSA shall have the authority, consistent with State law, to select and supervise the School

Administrator,” providing in full:

                        B. School Administrator. The accountability of CSUSA to
                the Charter School is an essential component of this Agreement.
                Since the responsibility of the School Administrator is critical to the
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               Charter School's success, CSUSA shall have the authority,
               consistent with state law, to select and supervise each School
               Administrator and to hold the School Administrator accountable for
               the success of the Charter School. CSUSA shall consult with the
               Board with respect to the hiring of the School Administrator, and
               CSUSA shall remove the School Administrator from the Charter
               School if the Board is reasonably dissatisfied with his or her
               performance.

(See Management Agreements, § VI.B.)

       27.     The provisions requiring that the School Administrator be a CSUSA employee and

that CSUSA must have authority to select and supervise the School Administrator are critical terms

for CSUSA. Under the Management Agreements, CSUSA is responsible for the management,

operation, and performance of the schools, and the agreement makes CSUSA accountable to the

Board for the achievement of certain performance goals. Being able to select and supervise the

School Administrators ensures that CSUSA will have sufficient control over the schools’ operation

to perform its obligations under the agreement, which is the very purpose identified in the express

language of Section VI.B. of the Management Agreements. If the agreements provided otherwise,

they would essentially make CSUSA responsible for the performance of teachers and staff directed

by someone else.

                     CIE’s Purports to Act as a Charter School “Sponsor”

       28.     As stated above, CIE purportedly serves as the “Sponsor” of all three charter

schools operated by BCEA.

       29.     The Act requires charter schools to operate pursuant to a Charter Contract issued

by a “Sponsor,” which serves as the school’s authorizer. Initially, only local school districts and a

statewide entity, known as the South Carolina Public Charter School District, were able to serve

as Sponsors under the Act. However, in 2012, the Act was amended to allow public or independent

institutions of higher learning to serve as Sponsors as well. See S.C. Code. Ann. § 59-40-40(1).


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       30.     Over the past two decades, Erskine has struggled financially. In December 2022,

the Southern Association of Colleges and Schools Commission on Colleges (“SACSCOC”) denied

Erskine reaffirmation of its accreditation and placed Erskine on warning status for, among other

things, failing to meet SACSCOC’s standards for governance, financial resources, and financial

responsibility. Although SACSCOC announced in December 2024 that it would allow the school

to remain accredited, it continued to keep Erskine on sanction. SACSCOC did not grant

reaffirmation and take Erskine off sanction until January 17, 2025.

       31.     Leading into 2017, Erskine decided to take advantage of the recent amendments to

the Act and enter the market as a Sponsor of charter schools. Erskine did so because, among other

things, it believed that serving as a Sponsor would present a revenue-generating opportunity.

Under the Act, charter school sponsors are permitted to retain a percentage of the per-pupil funding

the State provides the charter schools they authorize as a “Sponsor Fee.”

       32.     However, Erskine does not serve or function as a Sponsor. Instead, CIE, rather than

Erskine, has purported to serve as charter school Sponsor, approving charter applications and

issuing Charter Contracts in CIE’s name, based on votes of CIE’s board of directors.

       33.     CIE, however, is not an “independent institution of higher learning.” Instead, CIE

is separate from Erskine, with a separate corporate existence and separate board of directors.

       34.     Because CIE is not a “independent institution of higher learning” it is legally

prohibited from serving as a charter school Sponsor under the Act. Accordingly, any actions CIE

has purported to take as Sponsor, including the charters it has purported to issue, or amendments

it has purported to approve, are ultra vires, invalid, and void.

       35.     Further, as described below, CIE competes in the market for charter school

management services in addition to purporting to serve as a Sponsor.



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       36.     CIE’s actions alleged in this complaint were taken in its role as a participant in the

market for charter management services, and not in its purported role as Sponsor. Thus, even if

CIE could validly serve as a Sponsor under the Act—which it cannot—its actions as alleged in this

Complaint would not represent official actions taken in relation to the charter schools, but instead

the actions of a private corporation and market participant.

                  CIE’s Unlawful Competition against Charter Management
                                       Companies

       37.     Even though it cannot legally serve as a Sponsor, CIE has actively marketed and

promoted itself to new and existing charter schools, encouraging them to either submit applications

to CIE as a Sponsor or to transfer their existing charters from other Sponsors to CIE, all in an effort

to drive additional revenue for CIE, its principal executives, and other related companies.

       38.     Indeed, BCEA chose to transfer the sponsorship of the charter for MSE, to CIE as

a result of CIE’s promotional efforts.

       39.      Since CIE’s formation, CIE has also sought to unlawfully compete against the

management companies and other contractors that provide services to the charter schools it claims

to Sponsor.

       40.     CIE initially sought to compete with the management companies that serve CIE-

sponsored schools through other, related entities.

       41.     In or around 2019, Erskine agreed to invest an initial $1 million in a newly-formed

EMO, Reason & Republic, LLC (“Reason & Republic”) in exchange for a stake in Reason &

Republic’s ownership. CIE then approved amendments to the Charter Contracts for three of the

schools it oversees—Summit Classical Charter School, Inc., Belton Preparatory Academy, and

South Carolina Preparatory Academy (collectively, the “Reason & Republic-Managed

Schools”)—to approve their engagement of Reason & Republic as their management company.


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       42.     In January 2023, CIE’s Superintendent, Cameron Runyan, and its Chief Operating

Officer, Vamshi Rudprapati, founded Teach Right USA as a service provider to charter schools.

       43.     Although Runyan and Rudprapati formed Teach Right USA as a nonprofit

corporation and claimed it was only intended to provide education and professional development

for teachers, the true purposes of Teach Right USA were to provide education management

services that compete with other for-profit EMOs and to develop and manage charter schools in

states other than South Carolina. Teach Right USA improperly used personnel under the

employment of CIE to accomplish these purposes.

       44.     In October 2023, Teach Right USA filed a Letter of Intent with the Tennessee

Department of Education to open a school in Knoxville, Tennessee. The filing lists Runyan,

Rudrapati, and William Roach (a former CSUSA employee), all of whom were current employees

of CIE, as the “leadership” of the proposed Teach Right School.

       45.     Upon information and belief, CIE has wrongfully used South Carolina state funding

received in its purported role as Sponsor to fund Teach Right USA, either directly or indirectly.

This included using State funds to pay for trips by CIE staff, including Runyan, Rudrapati, and

others to Tennessee to lobby Tennessee officials to support their applications to open schools there.

       46.     CIE’s activities thus have not been limited to the advancement of charter school

education in South Carolina. Rather, it used both Reason & Republic and Teach Right USA to

bring about additional compensatory operations in South Carolina, Tennessee, and perhaps other

states, to benefit CIE, Erskine, and CIE’s principal executives.

       47.     In or around 2021, however, CIE and Erskine changed course by seeking to unwind

Erskine’s ownership interest in Reason & Republic—a process that has still not been completed—

and instead started using CIE to directly compete against the management companies and other



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providers that serve the schools CIE oversees in its purported role as Sponsor. CIE does so by

offering various management services to charter schools under what it calls a “shared services

model.” Under this model, CIE sells services to the charter schools purportedly sponsors which

compete with those offered by the schools’ management companies and other service providers,

in exchange for the payment of additional fees to CIE.

       48.    After launching its shared services model, CIE targeted Reason & Republic,

misusing its role and authority as Sponsor to threaten and induce the Reason & Republic-Managed

Schools to breach their management agreements with Reason & Republic and instead purchase

competing services from CIE and/or Teach Right USA. These efforts included (i) threats to

withhold state funding unless the Reason & Republic-Managed Schools complied with CIE’s

demands to displace Reason & Republic; (ii) spreading disinformation regarding Reason &

Republic’s ability to manage the Reason & Republic-Managed Schools; (iii) falsely alleging that

Reason & Republic’s management of the schools constituted a violation of state law; and (iv)

sewing dissention toward Reason & Republic both directly through CIE’s own statements and

through social media accounts operated by CIE employees.

       49.    Among other things, CIE’s acts of unfair competition against Reason & Republic

included: (i) falsely informing board members of the Reason & Republic-Managed Schools and

parents that Reason & Republic was mismanaging school funds; (ii) demanding that the Reason

& Republic-Managed Schools appoint CIE as their “fiscal agent,” and threatening to withhold state

funding if the schools refused; (iii) falsely stating that enrollment of the Reason & Republic-

Managed Schools’ employees in the South Carolina Public Employee Benefit Authority

(“SCPEBA”) was unlawful and constituted “fraud”; (iv) falsely alleging that Reason & Republic

had chosen an auditor for the schools who was not authorized to practice in the State of South



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Carolina and demanding to conduct “forensic audits” of the schools’ finances; (v) encouraging the

boards of the Reason & Republic-Managed Schools to assert that Reason & Republic had breached

its management agreements based on the same false assertions CIE and Erskine communicated to

the schools and their boards; (vi) soliciting and hiring away the Reason & Republic-Managed

Schools’ principals to work for CIE, and then' to using their inside knowledge of Reason &

Republic’s operations to induce the schools to breach or terminate their management agreements

and instead purchase competing services directly from CIE.

       50.     To accomplish its goal of eliminating Reason & Republic as a competitor, CIE

regularly held secret, closed-door meetings with the boards of the Reason & Republic-Managed

Schools in violation of the South Carolina Freedom of Information Act, S.C. Code Ann. § 30-4-

10, et seq. (“FOIA”). South Carolina’s version of FOIA requires that the board of directors for a

charter school act only as a whole at a duly noticed meeting, with the opportunity for the public to

observe the communications of the board and its deliberations. See S.C. Code Ann. § 30-4-60. It

similarly requires that public bodies, including charter school boards, publish an agenda prior to

any board meeting disclosing the matters about which the board might receive information or take

action. See S.C. Code Ann. § 30-4-80. Despite this, CIE repeatedly met with the boards of the

Reason & Republic-Managed Schools in closed sessions, without disclosing the purpose of the

meetings, in order to make false and defamatory statements about Reason & Republic, interfere

with Reason & Republic’s management of the charter schools, and to induce the board to breach

or terminate its management agreements with Reason & Republic

       51.     Through these wrongful acts of unfair competition and abuse of its role as purported

Sponsor, CIE was able to effectively and tortiously interfere with Reason & Republic’s

management of, and contractual relationships with, the Reason & Republic-Managed Schools.



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CIE’s purpose in doing so was to eliminate Reason & Republic as a competitor in the market for

charter school management services.

       52.     In response to their misconduct, Reason & Republic and its parent, Icelaven, have

filed claims against CIE, Erskine, and CIE’s principal officers, for tortious interference with

contract, violation of the South Carolina Unfair Trade Practices Act, S.C. Code. Ann. § 35-5-10,

et seq., and violation of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§§ 1961, et seq. A true and correct copy of the claims filed by Reason & Republic and Icelaven,

which are proceeding in the action Erskine College, et al. v. Icelaven Devel. Group., et al., Case

No. 2024-CP-04-00995, Anderson County Common Pleas, are attached hereto as Exhibit C.

       53.     Notably, Reason & Republic and Icelaven are represented in their lawsuit by the

same lawyer that has represented BCEA in its dealings with CSUSA, and thus BCEA is aware of

CIE’s wrongful tactics and use of disinformation to interfere with management companies serving

the schools CIE purports to Sponsor.

       54.     As another example of CIE’s misconduct, during the period between 2020-23, CIE

engaged in a similar campaign against Pinnacle Charter School Management Group, LLC, an

education management organization that provides services to three charter schools CIE previously

purported to Sponsor—Gray Collegiate Academy, Oceanside Collegiate Academy, and Legion

Collegiate Academy (together, the “Pinnacle-Managed Schools”).

       55.     Just as it had with Reason & Republic, CIE and its principal executives, including

Runyan, engaged in a campaign to interfere with Pinnacle’s agreements with the Pinnacle-

Managed Schools and unfairly compete against it, by, among other things, (i) falsely accusing

Pinnacle of mismanaging the Pinnacle-Managed Schools’ finances; (ii) conducting secret meetings

with the boards of the Pinnacle-Managed Schools in violation of FOIA to spread false and



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defamatory information regarding Pinnacle; (iii) falsely accusing board members of the Pinnacle-

Managed Schools who sought to oppose CIE’s actions of conflicts of interests as a to pretense to

take disciplinary action against the schools; (iv) inducing or purporting to require the boards to

adopt “policies” that violated the terms of Pinnacle’s management agreements and interfered with

its management of the Pinnacle-Managed Schools; (v) using the threat of disciplinary action

against the schools’ charters to force the schools to comply with its demands to displace Pinnacle;

(v) voting to close one of the Pinnacle-Managed Schools based on its false accusations that

Pinnacle had mismanaged the school’s finances; (vi) paying current Pinnacle employees to serve

as “consultants” for CIE to induce them to work against Pinnacle’s interests; and (vii) inducing the

boards of the Pinnacle-Managed Schools to send letters (written by the same lawyers and law firm

that have represented BCEA in its dealings with CSUSA) falsely accusing Pinnacle of breaching

the terms of its management agreements.

       56.     CIE, Erskine, and Runyan’s misconduct have now resulted in numerous lawsuits

against them by Pinnacle and the schools it manages. See, e.g., Pinnacle Charter Management

Group, LLC v. Charter Institute at Erskine, Inc. et al., Case No. 2020-CP-4004914, Richland

County Common Pleas; and Legion Collegiate Academy vs. Erskine College, et al., Case No. 2022-

CO-4003170, Richland County Common Pleas.

       57.     Upon information and belief, CIE and its principal executives, in particular Runyan

and Rudrapati, have used CIE and Teach Right USA to unlawfully benefit themselves. As has

been reported in the press, CIE, Runyan, Rudrapati, and others have used CIE to operate a “pay-

for-play” scheme—soliciting money and donations from contractors, developers and vendors who

hope to do business with the charter schools CIE Sponsors to, among other things, fund lavish trips

abroad that serve little if any educational purpose and do not serve the interest of South Carolina



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charter schools. See Zak Koeske, SC School District Spent $200k on Out-State-Trips, Including

5-Day Tour of London, THE STATE, Feb. 28, 2025.

       58.     Upon information and belief, one of the reasons CIE has begun to target CSUSA

and sought to eliminate it as a competitor is that CSUSA has not provided CIE and its leadership

similar kickbacks.

       CIE’s Interference with CSUSA’s Development of Rock Hill School for BCEA

       59.     Just as it has with other management companies, CIE has now focused its efforts

on CSUSA and the schools it manages for BCEA in an attempt to (i) interfere with CSUSA’s

prospective and contractual relationships with BCEA and (ii) displace CSUSA as a competitor for

the charter management services.

       60.     Leading into 2019, CSUSA and BCEA discussed opening a third charter school,

which CSUSA would again help to market and develop, and for which CSUSA would serve as

EMO. As a result of these discussions, CSUSA helped BCEA prepare an application to open a

school in Rock Hill that was to be known as Rock Hill Preparatory Academy (“RHPA”).

       61.     CSUSA and BCEA also discussed opening schools in other locations, and BCEA

began working with CSUSA’s affiliate, Red Apple Development, to identify potential real estate

that could be developed into additional school sites.

       62.     In February 2019, BCEA submitted an application to CIE for RHPA.              The

application stated that RHPA would be managed by CSUSA. In the application, BCEA further

explained that it currently contracted with CSUSA for MSE and that “[w]e have been working

closely with CSUSA’s development, education, finance, and operations teams, and are satisfied

with the delivery of services, and we plan to continue this partnership with CSUSA for our future




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schools.” BCEA similarly lauded CSUSA for having “a large support staff that provides services

across all areas of expertise needed to successfully operate a charter school.”

        63.    On April 10, 2019, CIE’s board of directors approved BCEA’s application for

RHPA.

        64.    During the period from 2020 to 2022, William Roach served as CSUSA’s State

Director. Roach also served as the founding principal of BPA.

        65.    In the May 2022, however, CIE solicited and hired Roach away from CSUSA to

serve as CIE’s Chief of Special Projects. Upon information and belief, CIE used information that

it gathered in its purported role as Sponsor, including information about Roach’s salary and

benefits, to solicit Roach to breach his contract with CSUSA and come to work for CIE.

        66.    Upon information and belief, CIE hired Roach to sell management services to

charter schools, including schools CSUSA manages, as part of CIE’s “shared services model.” In

particular, CIE wanted Roach to solicit BCEA to hire CIE and/or Teach Right USA to provide

charter management services for its new school, rather than CSUSA.

        67.    In and around this same time, BCEA requested that CIE allow it to amend its

application for RHPA to (i) change the location of the school from Rock Hill to Orangeburg and

(ii) eliminate CSUSA as the school’s proposed management company.

        68.    In June 2022, shortly after CIE hired Roach away from CSUSA, BCEA’s board of

directors conducted a meeting in which it first met in closed session and then voted to (i) change

the name of RHPA to Willie Jeffries School of Excellence and (ii) purchase charter management

services from CIE under its “shared services” model.

        69.    On or about November 16, 2022, BCEA’s board conducted a closed session without

first disclosing the purpose of the closed session as required by FOIA. Upon information and



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belief, BCEA did not conduct any business for which FOIA would have allowed it to go into closed

session, but instead used the session to meet with representatives of CIE and/or Teach Right USA

to discuss the engagement of CIE and/ Teach Right for management services—purposes for which

a closed session are not allowed under FOIA.

       70.     CIE subsequently granted BCEA preliminary approval to open WJSE in or around

April 19, 2023, and BCEA opened the school to students in August 2024.

       71.     Since CIE approved the application for WJSE, BCEA has persistently conducted

business regarding the school in closed session, in violation of FOIA and without following the

procedures required under that act.

       72.     Despite BCEA’s efforts to conceal its actions, BCEA adopted a budget for WJSE

on June 27, 2023, that included an appropriation for “management services,” which, upon

information and belief, reflect services it purchases from CIE.

       73.     In addition, BCEA has misappropriated what remains of the $3 million donation

provided by Minnie and Sonny Mevers. Although the Mevers restricted that donation for the

benefit of MSE, BCEA has used the proceeds of the Mevers’ donation to fund WJSE.

                          BCEA Breaches Management Agreements
                                   for MSE and BPA

       74.     Since CIE convinced BCEA to abandon its plans for RHPA and instead hire CIE to

provide services for WSJE, BCEA has repeatedly breached and sought to wrongfully terminate its

Management Agreements for MSE and BPA.

       75.     Over the same time, CIE has continued to encourage and induce BCEA to breach

the Management Agreements. In doing so, CIE has used the same playbook it used with Reason

& Republic and Pinnacle—spreading false and defamatory information regarding CSUSA and

interfering with CSUSA’s management of MSE and BPA, all in an effort to induce BCEA to breach


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or terminate its management agreements with CSUSA and buy services from CIE and/or Teach

Right USA instead.

       76.     Despite expressly agreeing that CSUSA would directly employ and supervise the

School Administrators for MSE and BPA, BCEA has persistently sought to interfere with CSUSA’s

supervision of the School Administrators and instead attempted to exercise direct control over the

School Administrators and their staff in contradiction of the Management Agreements.

       77.     To that end, the current chair of BCEA’s board of directors, Stewart Weinberg, has

persistently interfered with CSUSA’s management of MSE and BPA and the School Directors.

Since becoming chair, Weinbberg, acting both on his own and in concert with other board

members, has repeatedly undermined the authority of the School Administrators, issuing directives

that contradict those issued by the School Administrators or CSUSA. He has also sought to sew

dissention and discord among BCEA’s board, the School Administrators, CSUSA, parents, and

staff, contributing to high turnover among the School Administrators for the schools.

       78.     In August 2024, BCEA’s board of directors adopted a “School Administrator

Personnel Policy” (the “Administrator Policy”), that, in direct contravention of the Management

Agreements, purported to require that the Board “directly participate in the hiring, selection,

instruction, discipline, compensation, and termination of the School Administrator.” Remarkably,

the policy acknowledges that the Management Agreements require the School Administrators must

be directly employed and supervised by CSUSA. Despite this, BCEA purported to use the

Administrator Policy as a means to unilaterally amend the terms of the Management Contracts,

without CSUSA’s agreement, based on what it claimed was its “ultimate authority over its charter

schools.” A true and correct copy of BCEA’s purported Administrator Policy is attached hereto as

Exhibit D.



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       79.     On August 14, 2024, Weinberg sent a letter to CSUSA purporting to issue a

“contractual directive” that CSUSA assent to the Administrator Policy.

       80.     On September 5, 2024, CSUSA responded, explaining the reasons it would not

agree to amend the Management Agreement and that BCEA was not entitled to unilaterally amend

those agreements to change who the School Administrators report to without CSUSA’s agreement.

       81.     BCEA, however, refused to respect the terms of the Management Agreement and

instead reached an agreement with CIE to purportedly amend the Charter Contracts for MSE and

BPA to require that the School Administrators must be directly employed by the schools’ board

(the “Charter Amendments”).

       82.     BCEA’s request that CIE approve the Charter Amendments was a transparent and

bad faith effort to circumvent the terms of the Management Agreements. In making the request,

BCEA intended to deny CSUSA the benefit of the terms it had negotiated, as well as the benefit as

a Management Agreements whole, by, among other things, denying CSUSA the authority to ensure

MSE and BPA are managed in a way that meets CSUSA’s obligations under the Management

Agreements.

       83.     CIE’s motive in approving the Charter Amendments was similarly clear.                It

represents yet another attempt by CIE to misuse its purported position as Sponsor to interfere with

the contracts between management companies and the charter schools it is supposed to see so it

can sell its own, competing services.

       84.     Indeed, CIE did not wait even a full day to capitalize on its effort to use the Charter

Amendments to eliminate CSUSA. CIE informed BCEA that it had approved the Charter

Amendments on November 21, 2024, in a letter transmitted by email. At approximately 11:30

a.m. that same day, Ashley Epperson, CIE’s Chief of Communications, sent an email to MSE,



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following up on previous conversations and attaching a proposal to sell MSE marketing services

in exchange for $1,000 a month. A true and correct copy of Epperson’s email and CIE’s marketing

proposal are attached hereto as Exhibit E.

       85.     Upon information and belief, BCEA has since approved CIE’s marketing proposal

in closed session, in violation of FOIA. As a result, BCEA has directed CSUSA to remove

budgeted amounts for marketing services CSUSA was contracted to provide MSE and BPA.

       86.     BCEA, for its part, has continued to use the invalid Charter Amendments it

wrongfully procured in cooperation and concert with CIE as a supposed justification to declare

CSUSA in default and to terminate the Management Agreements.

       87.     On January 13, 2025, BCEA sent CSUSA a letter asserting CSUSA materially

breached the Management Agreements by refusing to cooperate with BCEA’s Administrator Policy

and the invalid Charter Amendments. BCEA then threatened to terminate the Management

Agreements, effective June 30, 2025 (the end of the schools’ fiscal year), if CSUSA does not “cure”

this supposed breach within the 60-day notice and cure period provided under the agreements. A

true and correct copy of Weinberg’s January 13, 2025 letter is attached hereto as Exhibit F.

       88.     Contrary to BCEA’s assertions, CSUSA has not breached the Management

Agreements by continuing to supervise and direct the School Administrators, nor is CSUSA

required to “transfer” employment and control of the School Administrators to BCEA.

       89.     First, CIE’s approval of the Charter Amendments (and indeed the underlying

Charter Contracts it has purported to enter with MSE and BPA), are invalid because CIE does not

legally qualify as a Sponsor under the Act.

       90.     In addition, BCEA’s wrongful procurement of the Charter Amendments represents

a violation of the Management Agreements. As explained above, the Management Agreements



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expressly provide that the School Administrators shall be CSUSA employees and that CSUSA

shall have authority to supervise them. Although the agreements generally provide that nothing

therein is meant to contradict the terms of the Charter Contracts issued by the Sponsor, the

agreements, as interpreted by the implied covenant of good faith and fair dealing, do not

contemplate that BCEA would procure amendments that thwart material terms of the Management

Agreements and deny CSUSA the benefit of the terms to which the parties agreed. It is thus BCEA,

rather than CSUSA, that has breached the terms of the Management Agreements.

        91.    Further, BCEA’s procurement of the Charter Amendments constitutes an act in

conspiracy with CIE in furtherance of CIE’s efforts to unfairly compete with CSUSA and interfere

with its contractual relations, and accordingly the Charter Amendments are unenforceable and

void.

        92.    On March 13, 2025, CSUSA once again responded to BCEA, and demanded that it

immediately retract its wrongful attempt to terminate the Management Agreements. A true and

correct copy of that response is attached hereto as Exhibit G.

        93.    In addition to interfering with CSUSA’s supervision of the School Administrators,

BCEA and CIE have wrongfully conspired to manufacture other, pretextual grounds to terminate

the Management Agreements.

        94.    On October 11, 2024, Weinberg sent another letter to CSUSA, this time claiming

CSUSA was in default under its MSE Management Agreement because it had failed to fulfill its

obligations related to the management of federal grants. In the letter, Weinburg asserted that “using

reliable information provided to us by the sponsor”—meaning CIE—BCEA had determined “a

potential sum of $505,068.07 has been lost between FY 19 and FY 24.” The letter then threatened

BCEA would proceed with its remedies under the MSE Management Agreement unless it received



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a “satisfactory response and cure” within the agreements’ 60-day notice and cure period. A true

and correct copy of Weinberg’s October 11, 2024 letter is attached hereto as Exhibit H.

       95.     Despite its assertions, BCEA did not provide any documentation supporting the

claims in Weinberg’s October 11, 2024, letter. After repeated requests—including a letter invoking

CSUSA’s rights to obtain public records under FOIA—BCEA finally produced an excel

spreadsheet prepared by CIE that purported to list federal funding CSUSA had allegedly “lost.”

       96.     In fact, CIE’s calculations, as well as CSUSA’s review of its own records, showed

that CIE and BCEA’s assertions in the October 11, 2024, letter were false. To the contrary, CSUSA

secured nearly $2 million in federal grant funds for MSE and achieved a grant utilization rate of

95-99% during the fiscal years in question. This is well within, and indeed exceeds, industry

norms. Federal grants can only be used for specific purposes, not all of which a school may need,

and thus it is typical for schools to not use all available grant funding.

       97.     CSUSA accordingly responded on December 6, 2024, explaining that it had fully

performed its obligations under the Management Agreements. A true and correct copy of that

response is attached hereto as Exhibit I.

       98.     Despite CSUSA’s response and full compliance with its obligations under the

Management Agreements, BCEA has continued to assert that CSUSA is in default under the

agreements and to use its management of federal grants as a pretext for termination.

       99.     Since procuring BCEA’s breach of its management agreements with CSUSA, CIE

has sought to reward BCEA—recently announcing that CIE has helped BCEA secure financing

for the construction of new facilities at WJSE and that it has “awarded” BCEA a $100,000 grant,

paid out of state funds CIE has collected in its role as a purported Sponsor. Upon information and




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belief, these actions represent a quid pro quo in exchange for BCEA’s cooperation with CIE’s

efforts to oust CSUSA as a competitor in the market for charter management services.

                                        COUNT 1
                (Declaratory Judgment—CIE is Not a Valid Sponsor Under the Act)

         100.     CSUSA repeats incorporates each and every allegation contained in the foregoing

paragraphs as if fully stated herein.

         101.     Under the Act, charter schools must operate “by sponsorship of a public school

district, the South Carolina Public Charter School District, or a public or independent institution

of higher learning . . . .” S.C. Code. Ann. § 59-40-40(1) (emphasis added). To qualify as a

“Sponsor” under the Act, an independent institution of higher learning must meet the definition set

forth in forth in S.C. Code Ann. § 59-113-50. See S.C. Code. Ann. § 59-40-40(4) (defining

“Sponsor” to include “an independent institution of higher learning as defined in Section 59-113-

50).

         102.     Section 59-113-50 of the South Carolina Code defines “an independent institution

of higher learning” as either an “independent eleemosynary junior or senior college in South

Carolina whose major campus and headquarters are located within South Carolina and which is

accredited by the Southern Association of Colleges and Secondary Schools” or an “independent

bachelor’s level institution chartered before 1962 whose major campus and headquarters are

located within South Carolina.”

         103.     Section 59-40-40(4) of the Act further states, “Only those public or independent

institutions of higher learning, as defined in this subsection, who register with the South Carolina

Department of Education may serve as charter school sponsors.”

         104.     CIE, however, is not an institution of higher learning as defined in Section 59-113-

50.

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       105.    A real and present controversy thus exists as to the authority of CIE to serve as a

charter school Sponsor under the Act, and accordingly, CSUSA is entitled to a declaratory

judgment that (1) CIE is not a lawful Sponsor under the Act and (2) actions taken by CIE in its

purported role as “Sponsor,” including the approval and issuance of charters for MSE and BPA,

and the approval of the Charter Amendments, were ultra vires and void.

                                            COUNT 2
                                 (Breach of Contract as to BCEA)

       106.     CSUSA repeats incorporates each and every allegation contained in the foregoing

paragraphs as if fully stated herein.

       107.    This count is against BCEA only.

       108.    The Management Agreements between BCEA and CSUSA constitute valid and

enforceable contracts.

       109.    BCEA, has breached both the express and implied terms of the Management

Agreements, by and among other things: (i) purporting to terminate the Management Agreements

without justification; (ii) interfering with CSUSA’s supervision of the School Administrators for

MSE and BPA; (iii) hampering and preventing CSUSA from performing its obligations under the

agreements; and (iv) soliciting and procuring, in concert with CIE, amendments to the Charter

Contracts for MSE and BPA that purport to alter, and effectively deny CSUSA the benefit of, the

material terms of the agreements.

       110.    BCEA has taken the actions described above in bad faith.

       111.    As a direct and proximate result of BCEA’s breach of the Management Agreements,

CSUSA has been damaged and is therefore entitled to a judgment in an amount in excess of

$75,000 to be proven at trial.




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                                          COUNT 3
                 (Tortious Interference with Contractual Relations as to CIE)

       112.    CSUSA repeats incorporates each and every allegation contained in the foregoing

paragraphs as if fully stated herein.

       113.    This count is against CIE.

       114.    CIE had knowledge of the Management Agreements between BCEA and CSUSA,

as well as the fact that they were binding and enforceable agreements. Indeed, as the purported

Sponsor of MSE and BPA, CIE had intimate knowledge of the details and workings of MSE and

BPA as well as the Management Agreements.

       115.    Nevertheless, CIE intentionally interfered with CSUSA’s management of MSE and

BPA, as well as its contractual relationship with BCEA, and thus procured CEA’s breach of the

management agreement through the conduct alleged above.

       116.    CIE actions have resulted in, or will result in, the loss of the Management

Agreements and/or the benefits due CSUSA thereunder.

       117.    As a direct and proximate result of CIE’s willful, reckless, and malicious actions,

CSUSA has suffered damages, and is accordingly entitled to a judgment against CIE for actual,

consequential, and punitive damages in an amount in excess of $75,000 to be determined at trial.

                                          COUNT 4
           (Tortious Interference with Prospective Economic Advantage as to CIE)

       118.    CSUSA repeats incorporates each and every allegation contained in the foregoing

paragraphs as if fully stated herein.

       119.    This count is against CIE.

       120.    CSUSA had an economic relationship with BCEA which resulted in an expectancy

of future benefit and economic advantage to CSUSA flowing from, among other things, the future

development and management of RHPA.

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       121.     As the purported Sponsor of MSE and BPA, CIE had intimate knowledge of

CSUSA’s economic relationship with BCEA and the prospective economic advantage inuring to

CSUSA as a result.

       122.     CIE acted intentionally, and in a manner designed to disrupt CSUSA’s economic

relationship with BCEA and deny CSUSA the prospective economic advantage flowing from that

relationship.

       123.     CIE did, in fact, disrupt CSUSA’s economic relationship with BCEA, resulting in

economic harm to CSUSA.

       124.     As a direct and proximate result of CIE’s willful, reckless, and malicious actions,

CSUSA has suffered damages, and is accordingly entitled to a judgment against CIE for actual,

consequential, and punitive damages in an amount in excess of $75,000 to be determined at trial.

                                         COUNT 5
           (Violation of the South Carolina Unfair Trade Practices Act as to CIE)

       125.     CSUSA repeats incorporates each and every allegation contained in the foregoing

paragraphs as if fully stated herein.

       126.     This count is against CIE.

       127.     CIE willfully engaged in unfair and deceptive practice through all of the conduct

through all of the conduct alleged herein.

       128.     CIE’s actions were conducted in trade or commerce.

       129.     CIE’s unfair and deceptive practices affect the public interest and have the potential

for repetition as evidenced by CIE’s repeated efforts to interfere and unfairly compete with the

management companies serving the charter schools CIE purports to sponsor.




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         130.   As a direct and proximate result of CIE’s actions, CSUSA has suffered actual and

ascertainable damages and is accordingly entitled to a judgment against CIE in an amount in excess

of $75,000 to be proven at trial, in addition to an award of its reasonable attorney’s fees and costs.

                                           COUNT 6
                             (Civil Conspiracy as to All Defendants)

         131.   CSUSA repeats incorporates each and every allegation contained in the foregoing

paragraphs as if fully stated herein.

         132.   This count is to all Defendants.

         133.   The Defendants, with the intent to (i) injure CSUSA through their acts of unlawful

competition, (ii) procure and induce BCEA to breach the Management Agreement, (iii) interfere

with CSUSA’s prospective economic advantages, and (iv) engage in unfair and deceptive trade

practices, acted in combination and in concert bringing about the events that could only have been

accomplished by working together, close in time.

         134.   This combination of acts resulted in actual damages to CSUSA in the form of lost

past and future revenue, and in other particulars to be shown at trial.

         WHEREFORE, CSUSA prays that a jury trial be had on all issues so triable and that the

Court:

         a) Issue a declaratory judgment that CIE is not a lawful Sponsor under the Act, and that

            actions taken by CIE in its purported role as “Sponsor,” including the approval and

            issuance of charters for MSE and BPA, and the approval of the Charter Amendments

            sought BCEA, were ultra vires and void;

         b) Enjoin CIE from (i) further purporting to act as Sponsor, (ii) taking further acts to

            interfere with the CSUSA’s contractual relationships under the Management




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      Agreements or unlawfully compete against it; and (iii) direct that the charters for MSE,

      BPA, and WJSE be transferred to a valid Sponsor.

   c) Enter a monetary judgment against BCEA and CIE awarding CSUSA actual,

      consequential and punitive damages in an amount to be proven at trial; and

   d) Assess the costs and expenses of this action against Defendants and grant CSUSA an

      award against CIE for its reasonable attorneys’ fees.

   e) Grant such other and further relief as the Court deems just and proper.

   This, the 14th day of March, 2025.

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